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CERTIFICATE OF SERVICE

I, Laurie Selber Silverstein, hereby certify that on this 19% day of October 2010, I caused
a true and correct copy of the Objection of Merrill Lynch to Supplement to Motion of the
Official Committee of Unsecured Creditors for Entry of an Order Granting Leave,
Standing and Authority to Commence, Prosecute and Settle Claims and Counterclaims of
the Debtors’ Estates and in Response to the Limited Objection of Aurelius Capital
Management, LP to be served on the parties on the attached list, with those parties in Delaware
served by Hand Delivery and those outside of Delaware served by First Class Mail, postage
prepaid.

Under penalty of perjury, I declare that the forgoing is true and correct.

Miahuverforanec

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Case 08-13141-BLS Doc 6038-2 Filed 10/19/10 Page 2 of 14
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